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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


DoeYZ,                                                     Case   Number: l5cvl 151 (ADN[/SER)

               Plaintiff,                                                              MOTION




Shattuck-St. Mary's School,

               Defendant.

Doe XY,                                                    Case   Number: 15cv1154 (ADM/SER)

               Plaintiff,
v

Shattuck-St. Mary's School,

               Defendant.

Doe AB,                                                    Case   Number: 15cv1155 (ADÌ\4/SER)

               Plaintiff,



Shattuck-St. Mary's School,

               Defendant.


       Plaintiffs, through their undersigned attomeys, hereby move the Court for an order

allowing them to proceed under pseudonyms. This motion is based upon all the records, files and

proceedings, the legal memoranda, affrdavits and exhibits that will be filed in connection with the

motion, and upon oral argument to be conducted on July 13, 2015.
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Dated: i|l4ay 14,2015             JEFF ANDERSON & ASSOCIATES, P.A




                                  s/Sarah G. Odeeaard
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